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  10

  11                       UNITED STATES DISTRICT COURT
  12                     CENTRAL DISTRICT OF CALIFORNIA
  13 DAVID ZINDEL, as Trustee for the                Case No.: 2:18-cv-01435-PA-KSx
     David Zindel Trust and the Lizabeth
  14 Zindel Trust,                                   Assigned to Hon.: Percy Anderson
  15                Plaintiff,                       DECLARATION OF DAVID
                                                     ZINDEL IN SUPPORT OF
  16         v.                                      OPPOSITIONS TO
                                                     DEFENDANTS’ MOTIONS FOR
  17 FOX SEARCHLIGHT PICTURES,                       ATTORNEYS’ FEES
       INC., a Delaware corporation;
  18 TWENTIETH CENTURY FOX FILM
       CORPORATION, a Delaware                        Date: Oct. 29, 2018
  19 corporation; TSG ENTERTAINMENT
       FINANCE LLC, a Delaware limited                Time: 1:30 p.m.
  20 liability company; MACMILLAN                     Ctrm.: 9A
       PUBLISHERS, LTD., a subsidiary of a
  21 German limited liability company;               [Filed concurrently: Opposition To
     GUILLERMO DEL TORO, an                          Film Defendants’ Motion for
  22 individual; DANIEL KRAUS, an                    Attorney’s Fees; Opposition To
     individual; and DOES 1 through 10,              MacMillan’s Motion for Attorney’s
  23 inclusive,                                      Fees; [Proposed] Orders]
  24                Defendants.
  25

  26                                                 Complaint Filed: February 21, 2018
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            ___________________________________________________________________________
                                 DECLARATION OF DAVID ZINDEL
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